Case 2:20-cv-02007-SHM Document 33 Filed 06/26/20 Page 1 of 3                        PageID 3638




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION



 AMERICAN CLOTHING EXPRESS, INC.,                       Case No. 2:20-cv-02007-SHM-dkv
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,                                       CLOUDFLARE’S UNOPPOSED MOTION
                                                        FOR LEAVE TO FILE AMENDED
 Plaintiffs,                                            COUNTERCLAIMS AND ANSWER

 v.

 CLOUDFLARE, INC. and DOES 1 - 200,
 inclusive,

 Defendants.

 CLOUDFLARE, INC.

 Counterclaimant,

 v.

 AMERICAN CLOTHING EXPRESS, INC.,
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,

 Counterdefendants.


                  CLOUDFLARE’S UNOPPOSED MOTION FOR LEAVE
                 TO FILE AMENDED COUNTERCLAIMS AND ANSWER

        Defendant/Counterclaimant, Cloudflare, Inc. (“Cloudflare”), respectfully moves the

Court for leave to file the Amended Counterclaims and Answer in the form attached as

Exhibit A hereto. Cloudflare is authorized to state that Plaintiffs do not oppose the filing of its

Amended Counterclaims and Answer.

        The procedural background for this Unopposed Motion is as follows. In response to

Plaintiffs’ Complaint [Dkt. 1], Defendant Cloudflare (the only defendant served in the case to
Case 2:20-cv-02007-SHM Document 33 Filed 06/26/20 Page 2 of 3                      PageID 3639




date) filed its original Counterclaims and Answer. [Dkt. 21.] Plaintiffs moved to dismiss the

Counterclaims. [Dkt. 28.] Cloudflare filed its Amended Counterclaims. [Dkt. 31.]

       In communications with Cloudflare’s counsel, Plaintiffs’ counsel have taken the position

that Cloudflare’s Amended Counterclaims [Dkt. 31] may not be independently filed without an

Answer, and should be treated as a nullity. Cloudflare’s counsel disagrees. However, rather

than engage in a motion practice regarding this issue, these Parties have agreed that Cloudflare

may file its Amended Counterclaims and Answer (attached hereto as Exhibit A) to deal with any

procedural deficiency asserted by the Plaintiffs.

       Accordingly, Cloudflare respectfully asks that the Court grant this Unopposed Motion

and authorize Cloudflare to file its Amended Counterclaims and Answer.



 Dated: June 26, 2020                           Respectfully submitted,

                                                By: /s/ Andrew P. Bridges
                                                Andrew P. Bridges
                                                Fenwick & West LLP
                                                Silicon Valley Center
                                                801 California Street
                                                Mountain View, CA 94041
                                                Telephone: 650.988.8500
                                                Email: abridges@fenwick.com
                                                (Admitted to U.S.D.C., W.D. Tenn.)

                                                Robb S. Harvey
                                                Waller Lansden Dortch & Davis LLP
                                                511 Union Street, Suite 2700
                                                Nashville, TN 37219
                                                Telephone: 615.850.8859
                                                Email: robb.harvey@wallerlaw.com

                                                Attorneys for Defendant Cloudflare, Inc.




                                                    2
Case 2:20-cv-02007-SHM Document 33 Filed 06/26/20 Page 3 of 3                         PageID 3640




                            CERTIFICATE OF CONSULTATION

       I hereby certify that on June 25, 2020, the undersigned counsel conferred via telephone

with Plaintiffs’ counsel regarding this Motion, and Plaintiffs’ counsel advised Cloudflare’s

counsel that they do not oppose the relief sought in this motion.


                                                          /s/ Andrew P. Bridges
                                                       Andrew P. Bridges



                                 CERTIFICATE OF SERVICE

       I am counsel of record for defendant Cloudflare, Inc. and certify that on June 26, 2020,

a copy of the foregoing Cloudflare’s Unopposed Motion for Leave to File Amended

Counterclaims and Answer was filed electronically. Notice of this filing will be sent by

operation of the Court’s electronic filing system to all parties indicated on the electronic filing

receipt. All other parties will be served by regular U.S. Mail. Parties may access this filing

through the Court’s electronic filing system.



                                                          /s/ Andrew P. Bridges
                                                       Andrew P. Bridges




                                                  3
